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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address


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    301 North Lake Avenue, 7th Floor
    Pasadena, California 91101-1807
    Phone: (626) 440-5200 Fax: (626) 796-0107

         Individual appearing without an attorney
         Attorney for: Reliable Design and Construction Inc.

                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                      CASE NO.: 2:15-BK-10239-SK
                                                                                CHAPTER: 13
    HUE CHAU AKA JIMMY CHAU


                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion1):
                                                                                MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                                                                                UNDER 11 U.S.C. § 362 (Action in Nonbankruptcy Forum)
                                                                  Debtor(s)


PLEASE TAKE NOTE that the order titled ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY
UNDER 11 U.S.C. § 362 (Action in Nonbankruptcy Forum)

was lodged on (date) 02/26/2015 and is attached. This order relates to the motion which is docket number 15.




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

301 North Lake Avenue, 7th Floor, Pasadena, California 91101-1807

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_02/26/2015________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

CHAPTER 13 TRUSTEE: Kathy A. Dockery (TR) - efiling@CH13LA.com
OFFICE OF THE U.S. TRUSTEE:
United States Trustee (LA) - ustpregion16.1a.ecf@usdoj.gov
ATTORNEY FOR DEBTOR: M Wayne Tucker - tucker@waynetuckerlaw.com
ATTORNEY FOR JP MORGAN CHASE BANK: Merdaud Jafarnia - bknotice@mccarthyholthus.com


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) __02/26/2015______, I served the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR:
Hue Chau aka Jimmy Chau
100 S Mockingbird Lane
West Covina, CA 91706


                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ____02/26/2015__, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Sandra R. Klein
United Bankruptcy Court - Central District of California
255 East Temple Street, Suite 1582
Los Angeles 90012
                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 02/26/2015                   Natalie Urbino                                                   /s/ Natalie Urbino
 Date                          Printed Name                                                    Signature


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                                                            EXHIBIT A
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 Pasadena, California 91101-1807
 Phone: (626) 440-5200 Fax: (626) 796-0107



       Movant appearing without an attorney
       Attorney for Movant

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                     CASE NO.: 2:15-BK-10239-SK

 HUE CHAU AKA JIMMY CHAU                                                    CHAPTER: 13

                                                                                    ORDER GRANTING MOTION FOR
                                                                                  RELIEF FROM THE AUTOMATIC STAY
                                                                                         UNDER 11 U.S.C. § 362
                                                                                    (Action in Nonbankruptcy Forum)

                                                                            DATE: 02/24/2015
                                                                            TIME: 08:30 a.m.
                                                                            COURTROOM: 1575
                                                                            PLACE: 255 East Temple Street, 15th Floor
                                                                                    Los Angeles, CA 90012

                                                             Debtor(s).

 MOVANT: Reliable Design and Construction Inc.



1. The Motion was:                 Opposed             Unopposed               Settled by stipulation

2. The Motion affects the following Nonbankruptcy Action:

     Name of Nonbankruptcy Action: Reliable Design and Construction Inc. v. Jimmy Chau
     Docket number: JAMS Ref. No. 1220046673
     Nonbankruptcy court or agency where the Nonbankruptcy Action is pending:

     JAMS - Arbitration


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California.

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3. The Motion is granted under 11 U.S.C. § 362(d)(1).

4. As to Movant, its successors, transferees and assigns, the stay of 11 U.S.C. § 362(a) is:
      a.       Terminated as to the Debtor and the Debtor’s bankruptcy estate.
      b.       Modified or conditioned as set forth in Exhibit                  to the Motion.
      c.       Annulled retroactively to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce its
               remedies regarding the nonbankruptcy action do not constitute a violation of the stay.

5. Limitations on Enforcement of Judgment: Movant may proceed in the nonbankruptcy forum to final judgment
      (including any appeals) in accordance with applicable nonbankruptcy law. Movant is permitted to enforce its final
      judgment only by (specify all that apply):
      a.       Collecting upon any available insurance in accordance with applicable nonbankruptcy law.
      b.       Proceeding against the Debtor as to property or earnings that are not property of this bankruptcy estate.

6. This order is binding and effective despite any conversion of this bankruptcy case to a case under any other chapter
   of the Bankruptcy Code.

7.         The co-debtor stay of 11 U.S.C. § 1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
           the same terms and conditions as to the Debtor.

8.         The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

9.         This order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of
           180 days, so that no further automatic stay shall arise in that case as to the nonbankruptcy action.
10.        This order is binding and effective in any future bankruptcy case, no matter who the debtor may be, without
           further notice.
11.        Other (specify):
               Movant may file a petition to confirm the final arbitration award and may otherwise proceed under applicable
               nonbankruptcy law to enforce its remedies to proceed to final judgment in any nonbankruptcy forum. The
               stay shall remain in effect with respect to enforcement of any judgment against the Debtor or property of the
               Debtor's bankruptcy estate.


                                                                         ###




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California.

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